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                                                                                       United States Bankruptcy Court
                                                                                           Southern District of Texas

                                                                                              ENTERED
                                                                                              May 05, 2025
                     IN THE UNITED STATES BANKRUPTCY COURT
                                                                                           Nathan Ochsner, Clerk
                       FOR THE SOUTHERN DISTRICT OF TEXAS

IN RE: Hugh P. Shannonhouse                        §   BANKRUPTCY NO. 24-31497
                                                   §




             ORDER: POSSIBLE FUTURE DISMISSAL OF CASE
        1.     11 U.S.C. §521(a) requires Debtors to file certain information. Fed. R. Bankr.
P. 1007(c) requires Debtors to file the list of creditors with the petition and requires Debtors to file
the balance of the documents required by §521(a)(1) within 14 days after the petition date, unless
extended for good cause shown.

     2.        The Clerk has determined that the Debtor(s) has failed to file the following
documents:

               •       The Clerk has determined that the debtor(s) has failed to file the list of
                       creditors in the form of a mailing matrix.

       3.      The Court orders that the foregoing documents must be filed timely.

        4.      11 U.S.C. §521(i) requires the “automatic dismissal” of voluntary bankruptcy cases
filed by individuals who are in chapter 7 or chapter 13 bankruptcy cases who do not file all of the
information required by §521(a)(1). Additionally, if the Debtor(s) does not comply with this order,
the case will be dismissed without further notice.

        5.      A party must either satisfy the deficiency or file a pleading denying the existence of
the deficiency.

       Signed May 5, 2025.
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                           UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF TEXAS

                    FORMAT RULES FOR LISTS OF CREDITORS: MATRIX

        Creditor lists must be uploaded to CM/ECF or filed on matrices. To ensure that the lists you
file can be read by the optical scanner and interpreted by the software, please follow these rules.
Your help is essential both for current efficiency and for future improvements.

                                            Matrix:
       1. Addresses must be in a format of six lines for every entry with a maximum of 40
          characters per line. Use lower and upper case letters. Do not use all capitals. Note that
          blank lines have been added to make each address conform to the six!line format.

           Examples:

           Line 1      John Q. Public
           Line 2      Attorney at Law
           Line 3      123 Main Street
           Line 4      Anywhere, Texas 12345!0123
           Line 5
           Line 6
           Line 1      Joanna R. Doe
           Line 2      123 Avenue A
           Line 3      Anywhere, TX 12345!0123
           Line 4
           Line 5
           Line 6

       2. Addresses must be in this order:

           Person or Company Name
           Optional Description (e.g. Attorney, Division)
           Address (street or post office box, not both)
           Suite or Apartment Number
           City, State, Zip (Use the state's two!letter abbreviation, without a period)

       3. The company or individual's name must be limited to one line only.

       4. Descriptions must be limited to two lines only. Keep it simple. Omit non!essential and
          imprecise descriptions. Insert blank lines to provide a six!line entry.

       5. Do not include account numbers on the matrix.

       6. Zip codes must be on the last line with the city and state. When possible, use all
          nine!digits with a hyphen inserted. Use capital letters for state abbreviations, with no
          periods in or after the letters (i.e. TX).

       7. All creditors listed on Schedules D, E and F should be included.

       8. The court's "Receipt of Creditor's List" must accompany each matrix.

       9. Never resubmit a name on a supplemental matrix that was submitted on the original
          unless the name or address is being corrected. Do not relist all creditors that appeared
          on the original in addition to the changes you are making through filing the supplemental
          list.
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       10. A separate matrix must be filed to add, correct or delete creditors at the same time.
           Indicate on the reverse of the matrix whether it added, modified or deleted creditors.


                                             Matrices:

       1. Matrices must be on 8 1/2" x 11" good quality paper, with a single column on each page
          along the one!inch left!hand margin. No misaligned columns please.

       2. Use one of the typefaces: Courier 10 Pitch (preferred) or Courier 12 Pitch.

       3. Laser printed text is preferred. Do not include other information, like letterhead, case
          number, page or line numbers, or stray marks.

       4. Please do not staple.


                                              NOTE:

Mail that is returned as undeliverable will be given to the attorney for the debtor who will have the
duty to effect notice.
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                          UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF TEXAS


       Instructions for Loading Creditor Mailing Lists for Attorneys Using CM/ECF
                                Multiple Creditors Upload

To add creditors to a new or existing case:

       1.  Log into the CM/ECF system
       2.  Select BANKRUPTCY from CM/ECF blue tool bar
       3.  Select CREDITOR MAINTENANCE
       4.  Select UPLOAD A CREDITOR MATRIX
       5.  Enter a case number (ex. 05!12345)
       6.  From the Load Creditor Information Screen, click on the BROWSE button and search
           for your matrix file on your personal computer. Once found, double click on matrix file
           to paste the file name into the CM/ECF system. Once the file name appears on the field,
           click the Next button. (Note: the creditor matrix file should be in TXT format and not
           contain page borders, dollar amounts, account numbers or cover page.)
       7. From the Add Creditor(s) screen, the system will verify the number of creditors added
           to the database. Please click on the SUBMIT button.
       8. The system will now produce a Creditor Receipt
       9. Select BANKRUPTCY from CM/ECF blue tool bar.
       10. Select MISCELLANEOUS
       11. Enter a case number
       12. Select CREDITOR MAILING LIST LOADED , then continue process, following prompts
           until complete. The final entry will show Creditor Mailing List Loaded .
       13. The deficiency flag has been removed from the docket.


                              Individual Creditor / Manual Entry

To add creditors to a new or existing case:

       1.  Log into the CM/ECF system
       2.  Select BANKRUPTCY from CM/ECF blue tool bar
       3.  Select Creditor Maintenance
       4.  Select ENTER INDIVIDUAL CREDITORS
       5.  Enter a case number (ex 05!12345)
       6.  From the Add Creditor(s) screen, you must manually enter: Name, Address,
           City/State/Zip on the fields provided. From this same screen place a bullet on the Last
           Entry radio button and click on the Next button. (If manually adding more than one
           creditor, leave the bullet on Continue to Enter radio button and add next creditor. When
           all creditors have been manually added, place a bullet on the Last Entry radio button
           and click on the Next button.)
       7. From the Add Creditor(s) screen, the system will verify the total number of creditors
           added to the database. Please click on the SUBMIT button.
       8. The system will now produce a Creditors Receipt
       9. Select BANKRUPTCY from CM/ECF blue tool bar.
       10. Select MISCELLANEOUS
       11. Enter a case number
       12. Select CREDITOR MAILING LIST LOADED , then continue process, following prompts
           until complete. The final entry will show Creditor Mailing List Loaded .
       13. The deficiency flag has been removed from the docket.
